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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS

 DEBORAH LAUFER, Individually,
         Plaintiff,

 v.                                                  Case No. 6:20-cv-385

 J&J EXECUTIVE SUITES LLC,
          Defendant.

        PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

      Plaintiff, by and through undersigned counsel, hereby submits this Notice of

Supplemental Authority in support of her Memorandum in Support of Standing filed

on May 29, 2020.

      In Parks v. Richard, 2020 U.S. Dist. Lexis 86790 (M.D. Fla. 5/18/2020), one

court in the Middle District of Florida rejected the defendant’s argument that the

plaintiff needed to intend to book a room at the hotel. First, the court held that the

plaintiff sufficiently “alleged he suffered an injury in fact by encountering barriers

that violate the ADA.” Id., at 4-5. The court directly rejected the defendant’s

argument that the plaintiff lacked standing because he never visited or intended to

visit the hotel. The court held that the:

      ADA claim is based upon [defendant's] website failing to identify the
      accessible features of the motel and its rooms, in violation of 28 C.F.R. §
      36.302(e)(1)(ii). Therefore, the relevant 'future injury' inquiry relates to the
      motel's website and reservation system, rather than the motel's physical

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      property." [Citation omitted.] While Parks may have never visited the motel,
      he visited its website and several third-party sites.

Id. at 7. The court also held that the Proximity Test was less applicable to ORS cases

and additionally held that the distance between the property and the home was

inapplicable, or weighed in plaintiff’s favor, because hotels are designed to cater to

travelers from afar. Id., at *6. The court additionally held that a plaintiff establishes

standing when they have a system of rechecking websites. Id.

      In Kennedy v. Swagath Hospitality, LLC, 0:19-cv-60583-DPG, DE 27 (S.D.

Fla. 1/2/2020), a court in the Southern District rejected the physical nexus argument,

stating:

      Plaintiff alleges that (1) she visited Defendant's website to ascertain whether
      it met the requirements of 28 C.F.R. Section 36.302(e), (2) she intends to
      return to the website to test it for compliance and/or to reserve a guest room,
      and (3) Defendant's failure to comply with the Americans with Disabilities
      Act ("ADA") is ongoing and harmful to her..... Based on these allegations, the
      Court finds that Plaintiff has sufficiently alleged an injury-in-fact and an intent
      to the return to the website in the future.

      In Kennedy v. Galleon Resort Condominium Assn, Inc., et al., 19-cv-62421-

CMA, DE 52 (S.D. Fla. 1/28/20), another district court rejected the defendant’s

arguments (filed at DE 39) that a physical nexus was required between a

discriminatory ORS and the physical hotel.

      In Kennedy v. Nila Investments, LLC, 2:19-cv-90-LGW-BWC, DE 34 (S.D.

Ga. 7/1/20), one Georgia court granted default judgment after an evidentiary hearing,
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finding that the plaintiff Kennedy suffered discrimination when she visited the non-

compliant ORS. The court additionally found that the plaintiff had standing because

she visited the ORS both before and after the lawsuit was filed “for the purpose of

assessing the accessibility features of the property and to ascertain whether those

sites met her accessibility needs as well as the requirements of 28 C.F.R. §

36.302(e)(1).” Id. at p. 5.

                                                             DATED: July 29, 2020

                                Respectfully submitted,

                                /s/ Tristan W. Gillespie
                                Tristan W. Gillespie, Esq.

                                THOMAS B. BACON, P.A.
                                5150 Cottage Farm Rd.
                                Johns Creek, GA 30022
                                Tel: 404.276.7277
                                gillespie.tristan@gmail.com




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